      Case: 3:10-cr-00100-TMR Doc #: 55 Filed: 02/01/11 Page: 1 of 7 PAGEID #: 487




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                                                Case No. 3:10-cr-100
                        Plaintiff,
                                                                Judge Thomas M. Rose
-v-

DAMIEN LEWIS,

                  Defendant.
______________________________________________________________________________

      ENTRY AND ORDER OVERRULING LEWIS’S MOTION TO SUPPRESS
      (Docs. #28, 48)
______________________________________________________________________________

         On June 22, 2010, a federal Grand Jury returned a seven-count Superseding Indictment

charging Defendant Damien Lewis (“Lewis”) and another individual with drug trafficking and

related firearm offenses. On August 2, 2010, Lewis filed a Motion To Suppress all evidence

recovered from a search of a residence at 833 Blanche Avenue, Dayton, Ohio. (Doc. #28.) On

August 10, 2010, a federal Grand Jury returned a seven-count Second Superceding Indictment

charging Lewis and others with drug trafficking and related firearm offenses. (Doc. #32.)

         Lewis now argues that pursuit and detention of himself was not justified, and any

evidence resulting therefrom should be excluded. Evidentiary hearings on Lewis’s Motion To

Suppress were conducted on October 5, 2010 and November 16, 2010. The Trial of this matter is

set for February 22, 2011. (Doc. #39.)

         Following the hearings, Lewis filed a Memorandum In Support of his Motion To

Suppress. (Doc. #48.) The Government has responded. (Doc. #52.) The time has run and Lewis

has not filed a Reply. Therefore, Lewis’s Motion To Suppress is ripe for decision.

         Findings of relevant facts will first be set forth. This will be followed by an analysis of
    Case: 3:10-cr-00100-TMR Doc #: 55 Filed: 02/01/11 Page: 2 of 7 PAGEID #: 488




Lewis’s Motion To Suppress. The relevant legal provisions will be set forth as part of the

analysis.

                             FINDINGS OF RELEVANT FACTS

        On November 27, 2010, Dayton, Ohio Police Department (“DPD”) Patrol Division

Officer Eric Hamby (“Officer Hamby”) and his supervisor, Sergeant David Wolford (“Sergeant

Wolford”), responded to a citizen complaint received through DPD’s dispatch center. (Transcript

of 10/5/10 Motion To Suppress Hearing (“10/5/10 Hr’g Tr.”) at 4-6, doc. #40.) A citizen had

called in and reported that drug activity was occurring in an alley near Blanche Street close to

her home. (Id.)

        Officer Hamby drove to the complainant’s residence and met with the caller. (Id. at 8.)

Sergeant Wolford remained in their police cruiser which was parked in an alley to the rear of the

complainant’s residence. (Id.)

        The complainant told Officer Hamby that approximately every thirty (30) minutes, drug

customers, who were usually Caucasian, would arrive in the alley at the rear of her home to

purchase drugs. (Id. at 12-13.) From the back door of her residence, the complainant showed

Officer Hamby where she observed the drug customers park their vehicles in the alley. (Id.) This

was the same alley in which Officer Hamby and Sergeant Wolford had parked their police

cruiser. (Id. at 13.)

        According to the complainant, minutes after the drug purchasers would park their

vehicle, a supplier would approach the customer’s vehicles on foot and sell drugs to the

customers. (Id. at 12-13.) The supplier would approach the alley from the direction of where

some vacant houses were located. (Id. at 13.) The complainant only identified the seller’s gender


                                                -2-
   Case: 3:10-cr-00100-TMR Doc #: 55 Filed: 02/01/11 Page: 3 of 7 PAGEID #: 489




and race. (Id. at 47.) She offered no further description. (Id. at 47-48.) Also, she did not indicate

that the black male that came to the cars in the alley was the same black male on each occasion.

(Id. at 57.) Thus, the only information obtained from the complainant and available to Officer

Hamby and Sergeant Wolford was an alleged drug seller’s race and gender and the location

where the drug trafficking was taking place. (Id. at 48.)

        After meeting with the complainant, Officer Hamby returned to the cruiser and began

debriefing Sergeant Wolford about the information received from the complainant. (Id. at 14-15.)

While they were talking, a red Dakota truck, occupied by two white males, drove into the alley

from the direction opposite which the police cruiser was parked. (Id. at 15.) The truck came to a

stop thirty (30) to fifty (50) feet from the cruiser. (Id. at 50-51.)

        Within seconds, a black male, who was later identified as Lewis, approached the truck

from the direction that had been indicated by the complainant. (Id. at 16, 20-21, 51.) There were

no other vehicles in the alley. (Id. at 72-73.)

        The black male did not see the cruiser or the officers until he was almost to the driver’s

door of the truck. (Id. at 17-18.) When he saw the uniformed officers in the cruiser, the black

male immediately fled the scene on foot, running back toward the direction from which he had

approached. (Id. at 17, 51-53.) The black male did not make any contact with the occupants of

the truck nor was he observed to be carrying anything. (Id. at 53.)

        Officer Hamby exited his cruiser and gave chase on foot while Sergeant Wolford stayed

behind to secure the occupants of the truck. (Id. at 18.) Officer Hamby followed the black male

on foot and observed him run into a nearby residence located at 833 Blanche Street. (Id. at19-20,

58.) The black male was out of Officer Hamby’s sight for a “millisecond” as Officer Hamby


                                                   -3-
   Case: 3:10-cr-00100-TMR Doc #: 55 Filed: 02/01/11 Page: 4 of 7 PAGEID #: 490




turned a corner, but, after turning the corner, Officer Hamby still saw the same black male

running at full speed. (Id. at 54.)

        The black male entered the rear door of the residence at 833 Blanche and locked it behind

him. (Id. at 19-20, 58.) Officer Hamby radioed his position to Sergeant Wolford, who, from his

position in the alley, could see the rear of the Blanche Street residence. (Id. at 20, 60.) Concerned

that the black male might flee, Officer Hamby proceeded to the front of the house. (Id. at 20.) At

the time, Officer Hamby did not know whose house it was or if the house was occupied. (Id. at

21.)

        After checking the front and rear of the house, Officer Hamby pushed in an air

conditioner that had been in a window at the back of the house. (Id. at 21, 60-61.) Joanna Riley

(“Riley”), later identified as Lewis’s mother, then came to the open window. (Id. at 23-25, 62.)

        Officer Hamby identified himself and advised Riley that a male had just run into the

house. (Id. at 25-26.) He asked her to unlock her front door to allow him to clear the scene. (Id.)

In response, Riley closed the window. (Id. at 26.)

        Officer Hamby then heard a series of rustling noises, which, based upon his training and

experience, were consistent with someone trying to hide or destroy contraband. (Id. at 27-28.) He

next re-established communication with Riley through a front window. (Id. at 29-31.) However,

despite repeated requests, Riley refused to exit the house or unlock the front door. (Id.)

        After additional police assistance arrived, Lewis, the black male that Officer Hamby had

chased, announced that he was coming out of the house. (Id. at 32.) Officer Hamby directed

Lewis to exit through the front door, however, Lewis exited through a window. (Id. at 33.) Lewis

was then patted down and detained in the back seat of a police cruiser. (Id.)


                                                -4-
   Case: 3:10-cr-00100-TMR Doc #: 55 Filed: 02/01/11 Page: 5 of 7 PAGEID #: 491




       The police then obtained a search warrant for the residence at 833 Blanche. (Transcript of

11/16/10 Motion To Suppress Hearing (“11/16/10 Hr’g Tr.”) at 21-23, doc. #41.) In the

residence, they found three loaded handguns, approximately $50,000 in U.S. currency, a digital

scale, razor blades, two bags of unused gel capsules, documents with Lewis’s name on them, and

men’s clothing. (Id. 25-31.) One of the firearms had been reported as stolen. (Id. at 31-32.)

       Riley claimed to have no knowledge of these items, indicated that she was the sole

resident of 833 Blanche, and indicated that her sons Kendall and Damien Lewis visited

frequently. (Id. at 33.) Based upon these circumstances, Lewis was arrested and charged with

weapons under disability and receiving stolen property. (10/5/10 Hr’g Tr. at 43-44.)

                                           ANALYSIS

       Lewis argues that Officer Hamby’s pursuit, the forcible removal of the air conditioner

and the subsequent detention of Lewis were not proper under the Fourth Amendment. The

Fourth Amendment protects, “[t]he right of the people to be secure in their persons… against

unreasonable searches and seizures.” U.S. Const. Amend. IV. This protection extends to all

seizures, including the brief investigatory stops described by the Supreme Court in Terry v.

Ohio. United States v. Arvizu, 534 U.S. 266, 273 (2002).

       However, an officer may stop a person, as provided in Terry, if the officer has

reasonable, articulable suspicion that the person has been, is, or is about to be engaged in

criminal activity. United States v. Place, 462 U.S. 696, 702 (1983). The reasonable, articulable

suspicion must be based upon specific, objective facts indicating that society’s legitimate

interests require the seizure. Brown v. Texas, 443 U.S. 47, 51 (1979). Thus, the detaining officers

must have a particularized and objective basis for detaining the individual based upon the totality


                                                -5-
   Case: 3:10-cr-00100-TMR Doc #: 55 Filed: 02/01/11 Page: 6 of 7 PAGEID #: 492




of the circumstances. United States v. Cortez, 449 U.S. 411, 417 (1981).

       An individual’s presence in an area of expected criminal activity, standing alone, is not

enough to support a reasonable, particularized suspicion that the person is committing a crime,

but the detaining officer is not required to ignore the relevant characteristics of a location.

Illinois v. Wardlow, 528 U.S. 119, 124 (2000). Also, evasive behavior, standing alone, is not

enough to support reasonable, particularized suspicion that the person is committing a crime, but

it is a factor that can be considered and may be suggestive of wrongdoing. Id.

       In this case, Officer Hamby had a reasonable particularized suspicion that Lewis had or

was attempting to commit a crime when he pursued and seized Lewis. Officer Hamby and

Sergeant Wolford were dispatched to the scene to investigate drug activity. The activity that

Officer Hamby and Sergeant Wolford observed in the alley exactly matched the drug activity

described by the complainant. White males drove up in a vehicle and a black male came from the

area of vacant houses to meet them.

       Further, Lewis, the black male, fled when he saw the police cruiser. The black male then

locked himself into a house and refused, for a period of time, to come out. Given the totality of

the circumstances, Officer Hamby’s pursuit of Lewis and eventual detention was not violative of

the Fourth Amendment.

                                          CONCLUSION

       Lewis has not shown that his detention by Officer Hamby was improper under the Fourth

Amendment. Further, Lewis initially challenged the search of 533 Blanche Street but did not

pursue this issue in subsequent briefing. Therefore, Lewis’s Motion To Suppress (doc. #28) is

OVERRULED.


                                                 -6-
   Case: 3:10-cr-00100-TMR Doc #: 55 Filed: 02/01/11 Page: 7 of 7 PAGEID #: 493




       DONE and ORDERED in Dayton, Ohio this First Day of February, 2011.

                                                           s/Thomas M. Rose
                                                   _______________________________
                                                            THOMAS M. ROSE
                                                   UNITED STATES DISTRICT JUDGE

Copies furnished to:

Counsel of Record




                                          -7-
